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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF NEW YORK

DEBORAH LAUFER,
         Plaintiff,

v.                                                 Case No: 5:20-cv-356-BKS-ML


RAM, INC.,
             Defendant.

             STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


     1.      My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

             am unable to engage in the major life activity of walking more than a few steps

             without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

             a cane or other support and have limited use of my hands. I am unable to tightly

             grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

             ambulating beyond the comfort of my own home, I must primarily rely on a

             wheelchair. I require accessible handicap parking spaces located closet to the

             entrances of a facility. The handicap and access aisles must be of sufficient width

             so that I can embark and disembark into a vehicle. Routes connecting the

             handicap spaces and all features, goods and services of a facility must be level,

             properly sloped, sufficiently wide and without cracks, holes or other hazards that

             can pose a danger of tipping, catching wheels or falling. These areas must be free

             of obstructions or unsecured carpeting that make passage either more difficult or

             impossible. Amenities must be sufficiently lowered so that I can reach them. I



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      have difficulty operating door knobs, sink faucets, or other operating mechanisms

      that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

      have unwrapped pipes, as such pose a danger of scraping or burning my legs.

      Sinks must be at the proper height so that I can put my legs underneath to wash

      my hands. I require grab bars both behind and beside a commode so that I can

      safely transfer and I have difficulty reaching the flush control if it is on the wrong

      side. I have difficulty getting through doorways if they lack the proper clearance.

      To use a pool, I require a lift or other accessible means. When sleeping in a guest

      room, I need a compliant tub or shower with required grab bars.

2.    When looking at a hotel online reservation service, I need information so that I

      can ascertain whether or not the hotel and its guest rooms are accessible to me.

      This includes information whether the conditions referenced above are compliant.

3.     In the past, I have observed that the vast majority of hotel online reservations

      services do not allow for booking of accessible rooms or provide the information I

      need to make an informed choice. I have also booked a room at hotels whose

      websites claim they are “accessible”, only to find that this claim is untrue.

      Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

      an accessible hotel. The failure of so many hotels to comply with the law in this

      regard deter me from making travel plans. Therefore, I am an advocate on behalf

      of both myself and other similarly situated disabled persons and consider myself a

      tester. As a tester, I visit hotel online reservations services to ascertain whether

      they are in compliance with the Americans With Disabilities Act. In the event that


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      they are not, I request that a law suit be filed to bring the website into compliance

      with the ADA so that I and other disabled persons can use it.

5.    I used to live in New York, have family there, and return constantly. I frequently

      stay in a a hotel when I go up. I have also traveled throughout the state. I plan to

      return to New York, travel around the entire state, and stay in hotels as soon as the

      Covid crisis is over. My plans to return to the area this summer are presently on

      hold because of this crisis. When I can return, I need to review the online

      reservations services of New York hotels so that I can make meaningful choices

      and plan my trip. This means that I must be able to review all hotel online

      reservations systems for every given area in which I intend to stay so that I have

      the information I need to select the right hotel in which to stay.

6.    Rooms for the Rodeway Inn & Suites Liverpool NY, 430 Electronics Pkwy,

      Liverpool, NY, can be booked through an online reservations service. Prior to

      filing this civil action, I visited this online reservations service on November 26,

      28, 29, 30, and December 6, 2019. I visited the online reservation service for the

      Defendant’s hotel for the purpose of reviewing and assessing the accessible

      features at the hotel and ascertain whether the websites contain the information

      required by 28 C.F.R. Section 36.302(e) and adequately informs me as to whether

      the hotel meets my accessibility needs. I was in my own home in Pasco County

      when I visited these websites. However, I was unable to do so because Defendant

      failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

      As a result, I was deprived the same services available to the general public. The


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      websites do not identify any accessible rooms, provide for booking of accessible

      rooms or contain any information as to whether any rooms or features at the hotel

      are accessible. Subsequent to filing this action, I revisited the hotel’s online

      reservations service on April 18, 2020 and May 17, 2020.

7.    When I encountered the above conditions, I suffered humiliation and frustration at

      being treated like a second class citizen, being denied equal access and benefits to

      the goods, facilities, accommodations and services. I am deterred from returning

      to the websites because I understand that it would be a futile gesture to do so

      unless I am willing to suffer further discrimination. I am aware that defendant

      segregates against me and other disabled persons by offering them one service: me

      a lesser service.. I am aware that I am being deprived the equality of opportunity

      afforded to non-disabled persons to utilize the online reservation service free of

      discrimination. I am also aware that my ability to travel free of discrimination and

      with equal access to information offered to the general public is diminished.

8.    I have a system to ensure that I revisit the online reservations services for every

      hotel I sue. In this regard, I maintain a list of each hotel I have sued. I constantly

      go through this list and add to it. With respect to each hotel I sue, shortly after the

      complaint is filed, I revisit the hotel’s online reservations service. I also

      periodically go down my entire list of hotels and revisit the online reservations

      services for all such hotels. My latest such revisit occurred in May of this year.

      Once a case is settled, I mark the date on my list when the defendant has agreed to

      fix its websites or when it is otherwise required to become compliant. When that


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               date arrives, I revisit it again and record my visits. Thus, I revisit each hotel’s

               online reservations service multiple times times after a lawsuit is filed. In this case

               and pursuant to my system, I visited the hotel’s online reservations service five

               times before the case was filed ( November 26, 28, 29, 30, and December 6,

               2019.), once shortly after the case was filed (on April 18, 2020) and again on May

               17, 2020, when I revisited the online services for all hotels on my entire list. I plan

               to again revisit the hotel’s online reservations service as soon as it is required to

               become compliant, either by Court order or by settlement agreement.

       9.      The screenshots attached as Exhibit A-1 truly and accurately depict the various

               websites I reviewed prior to this lawsuit. When I reviewed the websites, and as

               shown in the screenshots, none of the websites identified any accessible rooms or

               provided any information whatsoever regarding accessibility at the hotel.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

       7.2.20
Date: _________                                __________________________________
                                                       DEBORAH LAUFER




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